Case 2:21-cv-05363-JS-ST Document 27 Filed 11/09/22 Page 1 of 1 PageID #: 247

                                  CIVIL MINUTE ENTRY



   BEFORE:               Magistrate Judge Steven L. Tiscione

                        November 4, 2022
   DATE:

                        12:00 P.M.
   TIME:

   DOCKET               CV-21-5363 (JS)
   NUMBER(S):
   NAME OF              AA Medical, P.C. v. Centene Corporation
   CASE(S):

   FOR                  Axelrod
   PLAINTIFF(S):
   FOR                  Moore, Lieberman
   DEFENDANT(S):

   NEXT           See rulings below
   CONFERENCE(S):

   FTR/COURT     AT&T (12:06 - 12:21)
   REPORTER:
   RULINGS FROM Motion Hearing                        :
  Plaintiff's Letter Motion to Compel [22] is denied at this time. Defendants shall produce a
  declaration from a corporate representative providing the information Plaintiff seeks
  regarding the relationship between Defendant Centene, New York State Catholic Health
  Plan and New York Quality Healthcare Corporation. If the declaration does not sufficiently
  address the facts Plaintiff believes are required to deal with the limited issue for which
  discovery was permitted, Plaintiff may refile the motion and provide specific reasons why a
  corporate 30(b)(6) is necessary.
